j Case 1:04-cv-01144-RL.]-STA Document 33 Filed 05/06/05 Page 1 of 9 Page|D 41

FILED BYW 99
IN THE UNIrED STATES DISTRICT COURT ` '
FoR THE WESTERN DISTRICT or TENNESSEE 05 HAY ~5 AH 8= h |

EASTERN DIVISION
as ‘_~::.'z a ar issue
. . CL}"“F‘ m 18 asst ct
Bernadette Cunnlngham and Rosallnd ) Vt [.l G; `,“,!'; , iCKSON
Johnson, Individually, and as Adminstratrix )
of the Estate of Nekeya Magsby, Deceased, )
)
Plaintiffs, )
)
vs. ) Civil Action No. 1-04-1 l44-T/AN

)
Michelin North America, Inc., )
Michelin Amen'cas Research & )
Development Corp., )
)
Defendants. )
)
)

l

CONSENT PROTECTIVE ORDER

ln order to preserve and maintain the confidentiality of certain documents to be
produced by the parties in this action1
IT IS HEREBY ORDERED AND AGREED THAT:

This Order shall govern documents and other material or information
(“Litigation Materials”) produced in discovery, formally or informally, in the course of
litigation, including but not limited to documents, things, deposition testimony and
answers to interrogatories and requests for admission

As used in this Order, “Confidential Material” shall refer to any document or
other Litigation Material, or any portion thereof, designated as Cont`ldential as well as
information contained in or derived from such documents or other litigation Materials.

Any party (the "Designating Party") may designate materials as Confidential by

placing or affixing thereon in such a manner as Will not interfere with the reasonable
legibility thereof the following, or otherwise appropriate notice: “CONF[DENTIAL”.

This document entered on the docket sheet in mp|lance
with mile sa and/or 79 (a) FRCP on § j g 2 O 6

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At the discretion of the Designating Party, the notice may appear on every page
of Confidential Material or only on the first page of any material the entirety of Which is
intended to be Confidential, and such notice may appear in the margins or across the
body of the page. Confidential Material may but does not have to bear Bates numbers or
other identifying marks Such designation shall constitute a representation by the
Designating Party that it has a reasonable basis to believe that the material so designated
is indeed appropriate for the protection provided in this Order and that it is entitled to
claim such protection for the material

Confldential Material and any copy thereof and any notes or summaries made
thereof shall not be used by any party receiving it, including such party’s attorney or
other representative including expert witnesses, for any purpose other than the litigation
of this action.

Any notes made from Coniidential Material shall be marked “Contidential” and
shall be governed by the terms of this Order, except the possession thereof during the
pendency of this action may be maintained by the person creating the notes.

Confidential Material and notes made therefrom shall be disclosed only to
"Qualiiied Persons,“ and only to the extent necessary for the litigation of this action.
Qualified Persons are limited to:

Counsel of record for the parties;

The independent personnel retained by the Counsel of record to furnish
technical or other expert services or advice or to give expert testimony who
have been identified to Michelin;

Court reporters and translators and deposition transcript reporters and
translators; and

The Court and its authorized staff.

Prior to the disclosure of Contidential Material to any Qualified Person
described in Subparagraphs a-d of Paragraph 6 above, such Qualified Person shall
execute a "Written Assurance” in the form of Exhibit "A" attached hereto, which shall
forthwith be furnished to Counsel of record for the Designating Party. The attorney
disclosing the Confidential Material shall take all necessary steps to ensure that all
persons reviewing Confidential Material abide by the terms of this Protective Order.

Should any party desire to disclose Confidential Material to anyone other than a
Qualitied Party, such party shall provide the Designating Party fourteen (14) days prior
written notice of the intent to disclose Confidential Material to such additional
person(s), and such notice shall state the name and address of the additional person(s)
and the reason(s) review by such additional person(s) is desired. If the Designating
Party objects in writing to such disclosure within that fourteen (14) day period, then
such Confidential Material will not be disclosed unless and until this Court overrules the
Designating Party’s objection. When Confidential Material is disclosed to additional
person(s), such additional person(s) shall execute the aforesaid "Written Assurance”

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pursuant to the terms of Paragraph 7 above and shall abide by the terms of this
Protective Order.

lf Confidential Material is utilized or referred to during depositions, any party
may request that only Qualified Persons, the deponent and the reporter shall be present.
A party shall, either at the deposition itself, or within ten (10) days after actual receipt of
the transcript thereof, notify all other parties and the deponent on the record or in
writing, that information is confidential and shall designate the transcript or portions
thereof for which such claim is made. The transcript or portions thereof including
exhibits, for which confidentiality is claimed, shall be bound separately under seal and
prominently marked “Confidential Materiai, Subject to Protective Order entered by the
United States District Court, Westem District of Tennessee, Eastern Division.” Any and
all computer readable versions of the depositions or portions thereof shall also be so
marked. If notification of confidentiality is made other than at the deposition itself, the
Court Reporter shall, upon request, provide any party with a list of persons to whom the
transcripts and/or exhibits have already been sent, and all parties shall cooperate in
ensuring that all originals or copies of such transcripts or exhibits, including those in
computer-readable form, are appropriately marked and separately bound. The Court
Reporter shall be advised to limit the distribution of confidential portion(s) of the
transcripts and exhibits to specified counsel and to the deponent or his or her attorney.
The deponent shall be instructed in advance that he or she may not disclose Confidential
Material or the information contained therein except as provided herein and shall sign a
Written Assurance to that effect.

Confidential Material may be referred to or incorporated in briefs, affidavits, or
other documents filed With this Court, but only to the extent reasonably necessary for
the litigation of this Action and provided that such documents shall be filed with the
Clerk of Court under seal and prominently marked “Confidential Material, Subject to
Protective Order entered by the United States District Court, Westem District of
'l`ennessee, Eastern Division."

This Protective order shall survive the termination of this action, All
Confidential Material and any notes made therefrom or referenced thereto shall retain
that designation and shall remain subject to this Protective Order even after the
termination of this litigation

Upon final termination of this action, all Confidential Material, including each
copy thereof, and each document and copy thereof that incorporates or references, in
whole or in part, any Confidential Material or information contained therein, shall be
sent to the Designating Party accompanied by affidavits of counsel and of all persons to
whom Confidential Material has been disclosed that affiant at all times has abided by
the terms of this Protective Order, that all Confidential Material and all documents
referencing, in whole or in part, any Confidentiai Material or information contained
therein, in the affiant’s custody or control and all notes or documents listing the
information contained in the Confidential Material that affiant disclosed to Qualified
Persons or to others have been retrieved and returned to the Designating Party. To the

extent that a document filed with the Court contains Confidential

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MATERIAL THE CoURT HEREBY AUTHORIZES AND DIRECTS THE CLERK ro RELEASE sUCH
DoCUMENT To THE DESIGNATING PARTY UPoN FINAL TERMINATION oF THIS ACTION.

 

 
    

 

AND IT IS SO ORDERED.
States District Court Judge
5 /
mem 2005
Date \l
WE CONSENT:

RosENBLUM & RErsMAN, PC

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80 Monroe Avenue, #950
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GARY EUBANKS & AssoclATEs

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Attomeys for Michelin North America, lnc.

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EXHIBIT A

l, , hereby attest to my understanding that
Confidential Material or documents is being provided to me pursuant to the terms and
conditions and restrictions of the Protective Order of , 2005 (the
“ORDER”); that I have been given a copy of and have read the ORDER and have had its
meaning and effect explained to me by the designated attorney for the Plaintiffs or
attorney for the Defendant; and that I hereby agree to be bound by it and its terms. l
further agree that I shall not disclose to others, except in accordance with the ORDER,
any Confidential Material, including notes or other memorandum or writings regarding
information contained in them, that such information or documents shall be used only for
the purposes of litigating and/or investigating this action. l further agree and attest to my
understanding that, in the event that I fail to abide by the terms of that ORDER, I may be
subject to the same sanctions, including sanctions by way of contempt of Court, imposed
by the Court for such failure Further, l agree to subject myself to the jurisdiction of the
Court issuing the Order, in and for any contempt proceedings or other appropriate

sanctions as the Court may deem proper for violation of the ORDER.

 

Signed

 

Printed

Subscribed and sworn to before
me this day of , 2005

 

Notary Public, State of

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case l:04-CV-01 144 was distributed by fax, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

